



















NUMBER 13-04-509-CV

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI - EDINBURG
___________________________________________________________________

JAMES H. EDWARDS, ET AL.,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants,

v.

ALUMINUM COMPANY OF AMERICA, ET AL.,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellees.
___________________________________________________________________

On appeal from the 117th District Court
of Nueces County, Texas.
___________________________________________________________________

MEMORANDUM OPINION

Before Justices Hinojosa, Yañez, and Garza
Memorandum Opinion Per Curiam

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants, JAMES H. EDWARDS, ET AL., perfected an appeal from a judgment
entered by the 117th District Court of Nueces County, Texas, in cause number 00-06659-B.  No clerk’s record has been filed due to appellants’ failure to pay or make
arrangements to pay the clerk’s fee for preparing the clerk’s record.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;If the trial court clerk fails to file the clerk’s record because the appellant failed
to pay or make arrangements to pay the clerk’s fee for preparing the clerk’s record, the
appellate court may dismiss the appeal for want of prosecution unless the appellant
was entitled to proceed without payment of costs.  Tex. R. App. P. 37.3(b).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On December 17, 2004, notice was given to all parties that this appeal was
subject to dismissal pursuant to Tex. R. App. P. 37.3(b).  Appellants were given ten
days to explain why the cause should not be dismissed.  To date, no response has
been received from appellants. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Court, having examined and fully considered the documents on file,
appellants’ failure to pay or make arrangements to pay the clerk’s fee for preparing the
clerk’s record,  this Court’s notice, and appellants’ failure to respond, is of the opinion
that the appeal should be dismissed for want of prosecution. The appeal is hereby
DISMISSED FOR WANT OF PROSECUTION.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER CURIAM

Memorandum Opinion delivered and filed
this the 7th day of April, 2005.



